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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                )   1:10-CR-00361-LJO
                                              )
12                                            )   PRELIMINARY ORDER OF FORFEITURE
                      Plaintiff,              )
13                                            )
          v.                                  )
14                                            )
                                              )
15   TERRY LEE SCHNEIDER II,                  )
                                              )
16                    Defendant.              )
                                              )
17                                            )
18        Based upon the plea agreement entered into between plaintiff
19   United States of America and defendant Terry Lee Schneider, it is
20   hereby ORDERED, ADJUDGED, AND DECREED as follows:
21        1.   Pursuant to 18 U.S.C. § 2253, defendant Terry Lee Schneider
22   II’s, interest in the following property shall be condemned and
23   forfeited to the United States of America, to be disposed of
24   according to law:
25             a.    Toshiba laptop computer seized from defendant by
                     Law enforcement on or about January 27, 2010;
26
               b.    Compact discs, external hard drives, or other storage
27                   devices containing visual depictions of minors
                     engaged in sexually explicit conduct and seized
28                   by law enforcement on or about January 27, 2010;and



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 1              c.    Canon camcorder obtained by law enforcement on
                      or about September 20, 2010.
 2
 3        2.    The above-listed property constitutes property which
 4   was used or intended to be used in any manner or part to commit and
 5   to promote the commission of 18 U.S.C. 2251(a), in violation of 18
 6   U.S.C. § 2253.
 7        3.   Pursuant to Rule 32.2(b), the Attorney General (or a
 8   designee) shall be authorized to seize the above-listed property.
 9   The aforementioned property shall be seized and held by the Federal
10   Bureau of Investigation, in its secure custody and control.
11        4.    a.    Pursuant to 18 U.S.C. § 2253(b), incorporating 21
12   U.S.C. § 853(n), and Local Rule 171, the United States shall publish
13   notice of the order of forfeiture.       Notice of this Order and notice
14   of the Attorney General’s (or a designee’s) intent to dispose of the
15   property in such manner as the Attorney General may direct shall be
16   posted for at least 30 consecutive days on the official internet
17   government forfeiture site www.forfeiture.gov.         The United States may
18   also, to the extent practicable, provide direct written notice to any
19   person known to have alleged an interest in the property that is the
20   subject of the order of forfeiture as a substitute for published
21   notice as to those persons so notified.
22              b.    This notice shall state that any person, other than
23   the defendant, asserting a legal interest in the above-listed
24   property, must file a petition with the Court within sixty (60) days
25   from the first day of publication of the Notice of Forfeiture posted
26   on the official government forfeiture site, or within thirty (30)
27   days from receipt of direct written notice, whichever is earlier.
28        5.    If a petition is timely filed, upon adjudication of all



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 1   third-party interests, if any, this Court will enter a Final Order of
 2   Forfeiture pursuant to 18 U.S.C. § 2253 in which all interests will
 3   be addressed.
 4   IT IS SO ORDERED.
 5   Dated:    October 25, 2011              /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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                                             3                 PRELIMINARY ORDER OF FORFEITURE
